     Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 1 of 54




                                No. 22-55930


            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT


    LORI MYERS, individually and on behalf of a class of similarly situated
                                 persons,
                                                       Plaintiff-Appellant,
                                    v.

      MARS WRIGLEY CONFECTIONERY US, LLC AND THE QUAKER OATS
                            COMPANY
                                           Defendants-Appellees.

   On Appeal from the District Court for the Central District of California,
 Honorable John W. Holcomb Presiding, Case No. 5:20-cv-00335-JWH-SHK


                    APPELLANT’S OPENING BRIEF



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           Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 2 of 54




                                         TABLE OF CONTENTS
JURISDICTIONAL STATEMENT ..........................................................................1
ISSUES PRESENTED...............................................................................................1
STATUTORY AUTHORITIES ................................................................................1
STATEMENT OF FACTS ........................................................................................1
STATEMENT OF THE CASE ..................................................................................4
SUMMARY OF ARGUMENT .................................................................................5
STANDARD OF REVIEW .......................................................................................7
ARGUMENT .............................................................................................................8
  I. A Statement Need Not Be Factually False to be Misleading. .......................8
  II. The Placement of the Misrepresentation on the Label Deceived
        Reasonable Consumers Like Ms. Myers Into Believing that the Dove
        Dark Chocolate Products Contained Cocoa Traceable to Certified
        Farms, and Differed from Mars’s Other Products. .....................................11
     A. The District Court Erred in Failing to Take into Account that the
          Difference in Labeling Would Deceive a Reasonable Consumer into
          Thinking that Dove Dark Chocolate Products Materially Differed
          From Mars’s Other Chocolates by Containing Certified Cocoa.............12
     B. The Labeling of These Products with “Certified Cocoa, Traceable
          from the Farms to Our Factory” Misled Reasonable Consumers Into
          Thinking the Products Contained Ingredients They Did Not Contain. ..15
  III. The Allegations Were Sufficiently Specific to Satisfy the Plausibility
       Standard. .......................................................................................................18
     A. The Correct Standard on A Motion to Dismiss is Plausibility of the
          Allegations. .............................................................................................20
     B. Ms. Myers Adequately Alleged that the Affirmative Misrepresentation
          Misled Her and Would Mislead a Reasonable Consumer. .....................21
     C. Specific Evidence Supporting Plaintiff’s Claims is Not Required at
          the Pleading Stage. ..................................................................................24
CONCLUSION ........................................................................................................26




                                                            i
           Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 3 of 54




                                    TABLE OF AUTHORITIES

Federal Cases                                                                                           Page(s)
Ashcroft v. Iqbal,
  556 U.S. 662 (2009) .......................................................................................... 20
Bailey v. Rite Aid Corp., No. 18-CV-06926-YGR,
  2019 WL 4260394 (N.D. Cal. Sept. 9, 2019) ....................................... 13-14, 14
Bell Atlantic Corp v. Twombly,
  550 U.S. 544 (2007) .......................................................................................... 20
Bell v. Publix Super Markets, Inc.,
  982 F.3d 468 (7th Cir. 2020) ............................................................................. 21
Bohac v. Gen. Mills, Inc., No. 12–cv–05280–WHO,
  2014 WL 1266848 (N.D. Cal. Mar. 26, 2014) .................................................. 17
Davidson v. Kimberly-Clark Corp.,
  889 F.3d 956 (9th Cir. 2018) ......................................................................... 7, 10
Ebner v. Fresh, Inc.,
  838 F.3d 958 (9th Cir. 2016) ............................................................................. 21
Gardner v. StarKist Co.,
  418 F. Supp. 3d 443 (N.D. Cal. 2019) ........................................................ 22, 23
Garrison v. Whole Foods Mkt. Grp., Inc., Case No. 13–cv–05222–VC,
  2014 WL 2451290 (N.D. Cal. June 2, 2014) .................................................... 17
Hadley v. Kellogg Sales Co.,
  324 F. Supp. 3d 1084 (N.D. Cal 2018) ............................................................. 24
Ham v. Hain Celestial Group, Inc.,
  70 F. Supp. 3d 1188 (N.D. Cal. 2014) ........................................................ 17, 20
Hitt v. Arizona Beverage Co., LLC, No. 08cv809 WQH (POR),
  2009 WL 449190 (S.D. Cal. Feb. 4, 2009) ....................................................... 20
Jou v. Kimberly-Clark Corp., No. C-13-03075 JSC,
  2013 WL 6491158 (N.D. Cal. Dec. 10, 2013) .................................................. 14
Koh v. S.C. Johnson & Son, Inc., No. C-09-00927 RMW,
  2010 WL 94265 (N.D. Cal. January 5, 2010) ................................................... 23

                                                        ii
          Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 4 of 54




                           TABLE OF AUTHORITIES – CONT’D

Federal Cases - Continued                                                                            Page(s)
Lambert v. Nutraceutical Corp.,
  2020 U.S. Dist. LEXIS 6391 (C.D. Cal. Jan. 8, 2020) ...................................... 24
Lytle v. Nutramax Labs., Inc., Case No. ED CV
  19-0835 FMO (SPx), 2022 WL 1600047 (C.D. Cal. May 6, 2022) ................. 25
Moore v. Mars Petcare US, Inc.,
  966 F.3d 1007 (9th Cir. 2020) ............................................................. 6, 9, 10, 19
Navarro v. Block,
  250 F.3d 729 (9th Cir. 2001) ............................................................................... 7
Orshan v. Apple Inc.,
  804 F. App’x 675 (9th Cir. 2020) ...................................................................... 20
Peterson v. Mazda Motor of America, Inc.,
  44 F.Supp.3d 965- 69 (C.D. Cal. 2014) .............................................................. 8
Reid v. Johnson & Johnson,
  780 F.3d 952 (9th Cir. 2015) ................................................................. 18, 19, 20
Schippell v. Johnson & Johnson Consumer Inc.,
  2023 U.S. Dist. LEXIS 139184 (C.D. Cal. Aug. 7, 2023) ............................ 7, 19
Silicon Image, Inc. v. Analogix Semiconductor, Inc.,
   642 F. Supp. 2d 957 (N.D. Cal. 2008) .............................................................. 25
Spangler v. Nat’l College of Tech. Instruction, No. 14-cv-3005 DMS
  (RBB), 2016 WL 11772280 (S.D. Cal. Oct. 24, 2016) ..................................... 25
Surzyn v. Diamond Foods, Inc., No: C 14–0136 SBA,
  2014 WL 2212216 (N.D. Cal. May 28, 2014) .................................................. 17
U.S. ex rel. Lee v. Smithkline Beecham, Inc.,
  245 F.3d 1048 (9th Cir. 2001) ............................................................................. 8
Williams v. Gerber Prods. Co.,
  552 F.3d 934 (9th Cir. 2008) ...................................................................... passim




                                                      iii
           Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 5 of 54




                            TABLE OF AUTHORITIES – CONT’D

State Cases
Colgan v. Leatherman Tool Grp., Inc.,
  135 Cal. App. 4th 663 (Cal. Ct. App. 2006) ................................... 15, 16, 24, 25
Day v. AT&T Corp.,
  63 Cal. App. 4th 325–333 (Cal. Ct. App. 1998) ................................................. 9
Kasky v. Nike, Inc.,
  27 Cal.4th 939 (2002) ................................................................................. 8, 9, 12
Kwikset Corp. v. Superior Court,
  51 Cal. 4th 310 ................................................................................................... 12
Lavie v. Proctor & Gamble Co.,
  105 Cal. App. 4th 496 (Cal. Ct. App. 2003) ..................................................... 15
Linear Technology Corp. v. Applied Materials, Inc.,
   152 Cal. App. 4th 115 (Cal. Ct. App. 2007) ............................................... 20-21
Nagel v. Twin Labs., Inc.,
  109 Cal. App. 4th 39 (Cal. Ct. App. 2003) ..................................................... 8-9
People v. McKale,
  25 Cal.3d 626 (1979) ......................................................................................... 21
Salazar v. Walmart, Inc.,
    83 Cal. App. 5th 561 (Cal Ct. App. 2022) .................................................. 13, 21
Skinner v. Ken’s Foods, Inc.,
   53 Cal. App. 5th 938 (Cal. Ct. App. 2020) ....................................................15, 16

Federal Statutes                                                                                            Page(s)
28 U.S.C. § 1332 .................................................................................................. 1, 2

State Statutes
Cal. Bus. & Prof. Code § 17200 et seq. ................................................................... 4
California Civil Code §§ 1750 et seq. .................................................................. 4, 5



                                                          iv
          Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 6 of 54




                         TABLE OF AUTHORITIES – CONT’D

Other                                                                                           Page(s)
Federal Rule of Civil Procedure 12(b)(6) ............................................................ 6, 7




                                                    v
        Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 7 of 54




                           JURISDICTIONAL STATEMENT

      This case was properly before the district court under 28 U.S.C. § 1332, due

to diversity jurisdiction. Plaintiff timely filed her notice of appeal from the

dismissal of her claims against Mars Wrigley Confectionary US, LLC (hereinafter,

“Mars”) within 30 days of when the case was dismissed. ER 286-87.

                               ISSUES PRESENTED

   1. Whether the district court erred in finding that the statement “We buy cocoa

      from Rainforest Alliance certified farms, traceable from the farms into our

      factory” was not misleading as a matter of law because it was “technically

      true?”

   2. Whether the district court erred by failing to examine the context of the

      packaging, including that no other Mars products were labeled in that way?

   3. Whether the district court misapplied the Iqbal standard when it found that

      no reasonable consumer would be misled by the statements at issue?

                          STATUTORY AUTHORITIES

All relevant statutory authorities appear in the Addendum to this brief.

                             STATEMENT OF FACTS

      Forced labor and child labor are widespread on cocoa farms in Côte d’Ivoire

and Ghana. Over two million children are employed there in the Worst Forms of

Child Labor, including trafficking, slavery, and exposure to toxic chemicals and


                                           1
        Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 8 of 54




hazardous tools. ER 137, 141-42 (SAC ¶¶ 2, 19-20). Over half of these children

are involved in hazardous work. ER 142 (SAC ¶ 20). Many are unable to attend

school. Id. Millions of children have been sold or trafficked, forced to work in

abominable conditions, received no pay for their work, and were beaten if they

attempted to escape. ER 142-43 (SAC ¶ 22).

      Mars sources the majority of cocoa beans used to make its chocolate

products from Ghana and Côte d’Ivoire. ER 137 (SAC ¶ 2). Approximately 80% of

cocoa produced in Côte d’Ivoire cannot be traced to any specific farm, making it

impossible to discern whether the vast majority of cocoa sourced from the country

was harvested with forced labor and/or child labor. ER 143 (SAC ¶ 25). Although

Mars has made verbal commitments to eliminate forced labor and child labor in its

supply chain, only 24% of the cocoa beans that Mars purchases are traceable to

farms. ER 137, 148-49, 151 (SAC ¶¶ 2, 43, 44, 51); see also ER 120 (Mars Mot.

To Dismiss at 12:8-16). The reality is that child labor has increased, not decreased,

since Mars has made its public-facing commitments. ER 137 (SAC ¶ 2). Today’s

consumer is interested in purchasing sustainable and fair-trade goods. Nearly half

of consumers want more socially responsible products on the market. ER 138-39

(SAC ¶ 6).

      Plaintiff Lori Myers (“Myers”) is such a consumer. She sued Mars

(“Defendant”) in 2020 based on misleading statements regarding its cocoa supply


                                          2
        Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 9 of 54




chain on the packaging for its Dove Dark Chocolate products. ER 139 (SAC ¶¶ 9-

10). As Myers alleged, Mars purposely labeled its Dove Dark Chocolate products

to make them appear as if they contained certified chocolate, unlike its other

products. In particular, Mars placed the statement “We buy cocoa from Rainforest

Alliance CertifiedTM farms, traceable from the farms into our factory” on the Dove

Dark Chocolate products, but not on other products. ER 147, 149 (SAC ¶¶ 42, 45-

6). The Rainforest Alliance certification represents that it stands for ethical and

sustainable farming, including better labor conditions and care for the

environment. ER 147 (SAC ¶ 42). In fact, the cocoa in Mars’s Dove Dark

Chocolate products is not traceable once it arrives at the factory, and thus the cocoa

in the products is untraceable. The intermingling of certified and uncertified beans

in Defendant’s factory makes it impossible to tell which of its products are made

with cocoa beans from Rainforest Alliance Certified farms. ER 138, 149-150 (SAC

¶¶ 4, 45-48).

      Mars is unable to trace the cocoa in any of its products and admits that only

24% of the cocoa used in its products overall is certified. ER 120 (Mars Mot. to

Dismiss at 12:12-16). Over 75% of its cocoa is not from certified farms audited

for child labor and forced labor practices. Thus, it is possible and even more likely

than not that many of the Dove Dark Chocolate products did not contain any

certified cocoa. What is undisputed is that the Dove Dark Chocolate products,


                                           3
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 10 of 54




although labeled and priced differently, contain no different mix of cocoa than

other Mars products such as M&Ms. ER 120, 149 (Mars Mot. to Dismiss at 12:8-

16, SAC ¶¶ 44-48).

                          STATEMENT OF THE CASE

      Plaintiff Myers brought claims under California’s Unfair Competition Law,

Cal. Bus. & Prof. Code § 17200 et seq. (hereinafter “UCL”), alleging that

Defendant’s unfair practices deceived consumers, and under the Consumers Legal

Remedies Act, California Civil Code §§ 1750 et seq. (hereinafter “CLRA”),

alleging Defendant engaged in “unfair or deceptive acts.” ER 139, 154-158 (SAC

¶¶ 10, 69-89). The case was brought as a class action on behalf of all consumers

similarly misled. ER 152 (SAC ¶ 59). Defendant Mars filed a motion to dismiss.

ER 224-257. The district court dismissed the claims with leave to amend, ER 17-

31. Myers then filed a Second Amended Complaint, clarifying the theory around

affirmative misrepresentation by Mars. ER 136-159. Mars filed a second motion

to dismiss as to that complaint. ER 101-135.

      The district court dismissed Myers’s claims that the affirmative

misrepresentation “We buy cocoa from Rainforest Alliance CertifiedTM farms,

traceable from the farms into our factory” on the Dove Dark Chocolate products,

but not on other products, would mislead the reasonable consumer. ER 9-10. The

district court based the dismissal on its finding that the statement was “carefully


                                          4
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 11 of 54




worded” and “technically true.” ER 10. The district court then proceeded to find

that Myers needed to allege additional evidence at the complaint stage that a

reasonable consumer would not take from the statement “traceable from the farms

into the factories” or from the separate labeling of a specific product line generally

advertised as fair trade that the product itself was traceable or that any certified

chocolate at all was used in the products. Id. The district court placed the burden

on Myers to demonstrate within the complaint that her “mistaken assumption that

the product contained certified beans” was reasonable, beyond the allegations that

she herself had been misled and that a reasonable consumer would be misled, and

dismissed Myers’s claims prior to discovery. Id.

                          SUMMARY OF ARGUMENT

      First, the district court erred when it evaluated the challenged statements on

Mars’s packaging and found that because they were “technically true,” they were

not deceiving as a matter of law. ER 10. Under California law, a factually true

statement can nonetheless violate the CLRA if it is misleading to the reasonable

consumer. Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008). Thus,

it was error to hold that these “carefully worded” affirmative misrepresentations

were not deceiving because they were technically true.

      Second, the district court also erred in failing to evaluate or even consider

the placement and context of the challenged statements. Mars placed the statement


                                           5
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 12 of 54




“We buy cocoa from Rainforest Alliance certified farms, traceable from the farms

into our factory,” on certain premium products in the Dove Dark Chocolate line,

but not on other Mars products, which deceived consumers into thinking that the

Dove Dark Chocolate products were a different and more ethical product that

contained traceable and certified cocoa. ER 149 (SAC ¶ 46). The district court

should have found that plaintiffs alleged a plausible affirmative misrepresentation

because the statement implied that the products contained cocoa that was traceable

to certified farms. This allegation is plausible and courts have held that placing

such statements in a specific context or on certain products but not others can

amount to a deceptive practice when the products are in fact the same. Moore v.

Mars Petcare US, Inc., 966 F.3d 1007, 1019 (9th Cir. 2020) (requiring a

prescription for certain food could be plausibly proven to be deceptive when it

contains the same ingredients as the non-prescription food).

      Third, the district court erred in finding as a matter of law that Ms. Myers’s

assumption that the cocoa was traceable was not reasonable.

“Whether a business practice is deceptive will usually be a question of fact not

appropriate for decision on” a Rule 12(b)(6) motion to dismiss. Williams, 552 F.3d

at 938. The district court should not have decided the question of whether a

reasonable consumer would have been misled based on its own evaluation, but

should have appropriately left the question of whether consumers so misled were


                                          6
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 13 of 54




reasonable to be answered by the trier of fact after expert discovery and the

presentation of evidence. The District Court’s determination that no reasonable

consumers could be deceived in this manner as a matter of law, was clearly in error

at this stage in the proceedings. ER 10; Schippell v. Johnson & Johnson Consumer

Inc., No. EDCV 23-410 JGB (SHKx), 2023 U.S. Dist. LEXIS 139184 at *32-33

(C.D. Cal. Aug. 7, 2023).

                             STANDARD OF REVIEW

      “A dismissal for failure to state a claim pursuant to Federal Rule of Civil

Procedure 12(b)(6) is reviewed de novo. All allegations of material fact in the

complaint are taken as true and construed in the light most favorable to the

plaintiff.” Williams, 552 F.3d at 938 (quoting and citing Stoner v. Santa Clara

County Office of Educ., 502 F.3d 1116, 1120 (9th Cir. 2007)). “Dismissal is proper

only where there is no cognizable legal theory or an absence of sufficient facts

alleged to support a cognizable legal theory.” Navarro v. Block, 250 F.3d 729, 732

(9th Cir. 2001). Where a Plaintiff has alleged a cognizable legal theory, dismissal

is not appropriate. Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 965 (9th Cir.

2018). With respect to UCL and CLRA claims in particular, because of the

analysis involved with such claims, including the “reasonable consumer test,” it is

only “the rare situation in which granting a motion to dismiss is appropriate.”

Williams, 552 F.3d at 939.


                                          7
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 14 of 54




       Denial of leave to amend on a motion to dismiss is reviewed for abuse of

discretion. U.S. ex rel. Lee v. Smithkline Beecham, Inc., 245 F.3d 1048 (9th Cir.

2001). “Dismissal without leave to amend is appropriate only when the court is

satisfied that the deficiencies in the complaint could not possibly be cured by

amendment.” Peterson v. Mazda Motor of America, Inc., 44 F.Supp.3d 965, 968-

69 (C.D. Cal. 2014) (citing Jackson v. Carey, 353 F.3d 750, 758 (9th Cir. 2003)).

                                    ARGUMENT

      I.      A Statement Need Not Be Factually False to be Misleading.

      The district court erred in finding that a statement that is “technically true”

cannot be misleading to reasonable consumers as a matter of law. ER 10. It is well

established in the Ninth Circuit that technical truth is not a defense to a plausible

allegation that a statement would be misleading or deceptive to reasonable

consumers. Williams, 552 F.3d at 938 (“The California Supreme Court has

recognized ‘that these laws prohibit . . . advertising which, although true, is either

actually misleading or which has a capacity, likelihood, or tendency to deceive the

public.’”) (citing and quoting Kasky v. Nike, Inc., 27 Cal.4th 939, 951 (2002) and

Leoni v. State Bar, 39 Cal.3d 609, 626 (1985)). California state courts have long

recognized this well-settled principle, explaining that what matters is not

Defendant’s definition of terms but in fact what the reasonable consumer would

understand from the placement of the language on the label. See, e.g., Nagel v.


                                           8
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 15 of 54




Twin Labs., Inc., 109 Cal. App. 4th 39, 54 (Cal. Ct. App. 2003) (“In a consumer

interest action such as this one, the appropriate consideration is not what the

defendant’s own policies allow, but whether the list of ingredients on the product

labels and Twin Labs’ Web site would mislead a reasonable consumer.”); Aron v.

U-Haul Co. of Cal., 143 Cal. App. 4th 796, 807 (Cal. Ct. App. 2006)( “A

perfectly true statement couched in such a manner that it is likely to mislead or

deceive the consumer, such as by failure to disclose other relevant information, is

actionable.”) (quoting Day v. AT&T Corp., 63 Cal. App. 4th 325, 332–333 (Cal.

Ct. App. 1998)).

      Here, the district court found the challenged statements to be “carefully

worded” and “technically true.” ER 10. But whether a lawyer or judge, carefully

parsing the language, would understand the meaning of the traceability statement

placed on the packaging (“traceable from the farms into our factory”) to be that the

products’ cocoa was not itself traceable has no bearing on whether the words were

“actually misleading” or “had a capacity, likelihood, or tendency to deceive.”

Kasky, 27 Cal. 4th at 951 (quoting Leoni, 39 Cal. 3d at 626).

      The Ninth Circuit has previously reversed dismissal in cases where a

technically true statement was plausibly pled as misleading to reasonable

consumers. In Moore, 966 F.3d at 1012, the Ninth Circuit held that consumers had

adequately alleged that “prescription pet food,” which required a prescription to be


                                          9
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 16 of 54




purchased, was misleading in implying that “such food has been subject to

government inspection and oversight, and has medicinal and drug properties.” It

was factually true that the “prescription” pet food required a prescription from a

veterinarian to purchase. Id. at 1015. Nonetheless, the labeling on the food and the

prescription requirement was found to be a plausible affirmative misrepresentation,

i.e., that the food was different in its regulation and medicinal properties from non-

prescription pet food. Id. at 1021.

      Similarly, in Davidson v. Kimberly-Clark Corp., the company argued that its

statement that the wipes were “flushable” was factually true because the wipes

would not cause damage to pipes if flushed. Davidson v. Kimberly-Clark Corp.,

889 F.3d 956, 965 (9th Cir. 2018). The court found this assertion of truth

“extraneous” because the plausible consumer fraud theory was that consumers

would be misled into thinking that the wipes would disintegrate and disperse if

flushed. Id. The question was whether the reasonable consumer would believe

that the wipes would disintegrate from the use of the word “flushable,” not whether

the statement was literally true in some other sense. Id. at 964-5. So too here: the

appropriate question is whether reasonable consumers would believe that the

product so labeled contained traceable, certified cocoa, not whether it was factually

true that Mars purchases 24% of its volume in certified cocoa.




                                         10
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 17 of 54




      Just as in Moore and Davidson, the district court here committed reversible

legal error in assuming that because the challenged statement was technically true,

reasonable consumers could not be misled as a matter of law. As Plaintiff alleged,

Mars put this statement on the packaging of a line of products specifically

marketed using fair trade language to imply to the consumer that the products they

were purchasing contained traceable, certified cocoa. ER 149 (SAC ¶ 46). None

of the cocoa in the products was in fact traceable at the point of sale nor was it

guaranteed to contain any certified cocoa. ER 150 (SAC ¶ 45).

      II.    The Placement of the Misrepresentation on the Label Deceived
             Reasonable Consumers Like Ms. Myers Into Believing that the
             Dove Dark Chocolate Products Contained Cocoa Traceable to
             Certified Farms, and Differed from Mars’s Other Products.

      Plaintiff alleged that the language that stated that Mars bought cocoa that

was traceable from certified farms deceived her into thinking that the Dove Dark

Chocolate products contained traceable and certified cocoa. ER 149- 50 (SAC ¶¶

45, 48). Plaintiff also alleged that the fact that the Dove Dark Chocolate products

were labeled as traceable while the other Mars and Dove products were not so

labeled deceived her into thinking that those products contained certified cocoa.1


1
  Plaintiff was not the only consumer so deceived. See “Is There Slavery in your
Chocolate,” https://thewriteending.com/is-there-slavery-in-your-chocolate/
(“There’s a whole row of fair trade chocolate brands at Meijer, and I’m sure your
local grocery store has options as well–if you take the time to look. My current
favorite is the silky smooth Dove dark chocolate, which is Rainforest Alliance
Certified.”).
                                          11
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 18 of 54




(ER 149-150 (SAC ¶¶ 46, 48). The district court erred in finding that Mars’s

statement was not an affirmative misrepresentation.

              A.   The District Court Erred in Failing to Take into Account
                   that the Difference in Labeling Would Deceive a Reasonable
                   Consumer into Thinking that Dove Dark Chocolate
                   Products Materially Differed From Mars’s Other
                   Chocolates by Containing Certified Cocoa.
      The statements at issue here, by their placement on some products and not

others, indicate to a reasonable consumer that the Dove Dark Chocolate line of

products was made using certified cocoa. ER 149-50 (SAC ¶¶ 46, 48). In reality,

the source of the cocoa for these products did not differ from those in Mars’s

general cocoa mix and other Mars chocolate products. Mars admits that they were

not traceable. Plaintiff has plausibly alleged that at best 24% of Mars’s Dark

Chocolate could claim to be certified and none of which is traceable from the

product back to the farm. Indeed, many of the Dove Dark Chocolate products

likely contained no certified cocoa at all. Thus, the purposely distinctive

statements on their packaging were deceptive and misleading to reasonable

consumers.2


2
 Ms. Myers alleged, and no one has contested, that reasonable consumers care
about such claims. ER 138 (SAC ¶¶6-7) (“64% of global consumers say they
choose brands because of their stand on social issues”). The California Supreme
Court has repeatedly recognized the importance of misleading claims of this
nature. See Kasky v. Nike, Inc., 27 Cal. 4th 939, 969 (2002) (“For a significant
segment of the buying public, labor practices do matter in making consumer

                                         12
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 19 of 54




      Under California law, placement and context matters. For example, in

Salazar v. Walmart, Inc., the court held that the defendant’s use of the term “white

baking chips” was misleading when placed on a product sold in the chocolate aisle

next to products containing chocolate. 83 Cal. App. 5th 561, 569 (Cal Ct. App.

2022) (“A reasonable consumer might know there are white chocolate chips used

for baking while not knowing that white-colored baking chips that do not contain

white chocolate exist. When viewed in that context, a reasonable consumer could

reasonably be misled to believe that the chips are white chocolate chips. . .”). The

court in that case found that the allegations, given the placement of the chips, were

sufficient to continue with discovery; whether a reasonable consumer was deceived

or misled into believing that the chips contain white chocolate is not properly

resolved at the pleading stage. Id. at 570.

      Similarly, in a case where Rite Aid represented that specific medicine was

“‘rapid release’ but failed to qualify that statement with the fact that relief would

be no more ‘rapid’ than that provided by defendant's non-rapid release products,”

the allegations were sufficient to support a claim that Rite Aid violated the UCL

and CLRA. Bailey v. Rite Aid Corp., No. 18-CV-06926-YGR, 2019 WL 4260394,



choices.”); Kwikset Corp. v. Superior Court, 51 Cal. 4th 310, 328 (2011) (“To
some consumers, processes and places of origin matter. . . . Whether a diamond is
conflict free may matter to the fiancée who wishes not to think of supporting
bloodshed and human rights violations . . . .”)
                                          13
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 20 of 54




at *7 (N.D. Cal. Sept. 9, 2019). The court found that because the premium “rapid

release” products were not any faster than the regular, cheaper Rite Aid products,

the consumer was not getting what he had expected in paying the premium. Id.

      Finally, marketing a specific line as “pure and natural” as opposed to other

lines owned by the same company implicitly represents to the consumer that the

product is a premium product that differs from the other products. Jou v.

Kimberly-Clark Corp., No. C-13-03075 JSC, 2013 WL 6491158, at *1 (N.D. Cal.

Dec. 10, 2013) (“Defendant markets [Huggies Pure & Natural Diapers] as “pure &

natural,” . . . The front of the packaging also informs the consumer, without

qualification, that the diapers are made of “soft organic cotton.” . . . This marketing

is an attempt to contrast the “pure & natural” diapers with Defendant’s other,

conventional diaper offerings.”). In that case, the court found that the difference in

packaging was plausibly alleged to be deceptive where the diapers “[did] not differ

materially” from other Huggies products. Id. at *1-2. In that case, there were at

least minor differences intended to make small portions of the diapers more

“natural.” Id. at *2-3. Here, the Dove Dark Chocolate products contain the exact

same mix of cocoa (24% of which is certified and none of which is traceable from

the product back to the farm) as other Mars chocolate products. ER 120 (Mars’s

Mot. to Dismiss at 12:8-16). Not even minor differences between the Dove Dark

Chocolate products and Mars’s other products exist.


                                          14
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 21 of 54




             B.     The Labeling of These Products with “Certified Cocoa,
                    Traceable from the Farms to Our Factory” Misled
                    Reasonable Consumers Into Thinking the Products
                    Contained Ingredients They Did Not Contain.
      Plaintiff Myers adequately alleged that she was deceived into thinking that

the Dove Dark Chocolate products contained traceable, certified cocoa. Mars

admits that none of the cocoa is traceable at the point of sale, and only 24% of the

cocoa it purchases is certified, ER 120 (Mars’s Mot. to Dismiss at 12:8-16); ER

210 (citing Mars’s website statements), making it likely that many of the Dove

Dark Chocolate products contain no certified cocoa whatsoever. Plaintiff Myers

was misled as to the actual ingredients of the product she was willing to pay a

premium for in order to avoid consuming chocolate produced by slave labor.

      As discussed, a literally true statement can still be misleading. Reasonable

consumers are not expected to be versed in “the process of [a product’s]

preparation or manufacture,” to distinguish the difference. Skinner v. Ken’s Foods,

Inc., 53 Cal. App. 5th 938, 949 (Cal Ct. App. 2020) (quoting Colgan v.

Leatherman Tool Grp., Inc., 135 Cal. App. 4th 663, 682 (Cal. Ct. App. 2006)); see

also Lavie v. Proctor & Gamble Co., 105 Cal. App. 4th 496, 509-10 (Cal. Ct. App.

2003) (holding a reasonable consumer need not be exceptionally sophisticated, or

“wary or suspicious of advertising claims”).

      For example, where a product suggests that it has been made in the U.S.A., it

is no defense that this is true, in that it was made in the United States, if

                                           15
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 22 of 54




components were in significant part also not made in the United States. Colgan,

135 Cal. App. 4th at 672 (affirming summary adjudication for the plaintiff on this

basis); see also Skinner, 53 Cal. App. 5th at 949 (products that tout being made

with olive oil, even if technically true, could be deceptive if they were

predominantly made with other oils). Here, the misleading statement is even more

egregious. Defendant advertises to consumers that it buys cocoa from certified and

traceable farms. In fact for many consumers, nothing in their purchase whatsoever

would be made with certified or traceable cocoa.

      Notwithstanding Mars’s unqualified assertion, any certified cocoa is by far

the vast minority of Mars’s cocoa. Under the district court’s rule, Mars could

successfully shield itself from liability by purchasing a single traceable bean and

deploying the careful wording here. That is clearly not the law, and reasonable

consumers could easily be misled by a statement such as Mars’s. See e.g.,

Mantikas v. Kellogg Co., 910 F.3d 633, 638 (2d Cir. 2018) (statement “made with

whole grain” is misleading where it is not a primary ingredient; and a rule that “it

is not misleading to state that a product is made with a specified ingredient if that

ingredient is in fact present—would validate highly deceptive advertising and

labeling. Such a rule would permit Defendant to lead consumers to believe its

Cheez-Its were made of whole grain so long as the crackers contained an iota of

whole grain, along with 99.999% white flour.”). As a further example, it would be


                                          16
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 23 of 54




no serious defense to a UCL claim against a used car dealer that its statements “We

buy certified, inspected and fully traceable vehicles” is technically true, while in

fact, the vast majority of its vehicles are uncertified, untraceable cars from salvage

yards and chop shops.

      A reasonable consumer could be misled by statements like those at issue

here. Compare this case to the line of cases holding that products advertised as “All

Natural” but which contain synthetic ingredients are plausibly misleading to the

reasonable consumer. See, e.g., Williams, 552 F.3d at 938-9; Ham v. Hain

Celestial Group, Inc., 70 F. Supp. 3d 1188, 1193 (N.D. Cal. 2014); Bohac v. Gen.

Mills, Inc., No. 12–cv–05280–WHO, 2014 WL 1266848, at *4 (N.D. Cal. Mar. 26,

2014); Surzyn v. Diamond Foods, Inc., No: C 14–0136 SBA, 2014 WL 2212216, at

*3 (N.D. Cal. May 28, 2014); Garrison v. Whole Foods Mkt. Grp., Inc., Case No.

13–cv–05222–VC, 2014 WL 2451290, at *3 (N.D. Cal. June 2, 2014). In those

cases, courts have repeatedly held that (1) even though “all natural” is an

ambiguous phrase susceptible to multiple interpretations, a reasonable consumer

could nonetheless be plausibly misled by its use; and (2) such language is plausibly

misleading even when it appears alongside an ingredient list clarifying a product’s

contents. See, e.g., Williams, 552 F.3d at 939-40 (“We disagree with the district

court that reasonable consumers should be expected to look beyond misleading

representations on the front of the box to discover the truth from the ingredient list


                                          17
          Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 24 of 54




in small print on the side of the box.”). The idea presented here of “traceability”

and “certification” is less ambiguous than the comparatively metaphysical idea of

“naturalness” in Williams. Moreover, the Dove labels contained no fine print with

the potential to dispel mistaken assumptions and clarify the product’s actual

contents (i.e., chocolate that was not traceable to certified farms).3

      Just as the plaintiffs in the “all natural” line of cases were acting reasonably

in believing the products they purchased contained natural ingredients, Myers had

a reasonable belief that the Dove Dark Chocolate products contained traceable,

certified cocoa, based on Mars’s representations. In fact, at the point of sale, none

of the cocoa remains traceable and no product is guaranteed to have any particular

quantum of certified cocoa. ER 149 (SAC ¶ 45).

      III.     The Allegations Were Sufficiently Specific to Satisfy the
               Plausibility Standard.

      The lower court erred in its conclusion that the allegations were not

sufficiently specific in asserting that a reasonable consumer would share Ms.


      3
        Even when there is fine print, a typical or reasonable consumer is not
expected to be sophisticated enough to read or understand it. Reid v. Johnson &
Johnson, 780 F.3d 952, 959 (9th Cir. 2015). The company argued that the
ingredient list cured the statement that the product had no trans-fat because it listed
hydrogenated vegetable oil; this Court disagreed and found that a reasonable
consumer could plausibly still be deceived. Id. (“It is far from clear that typical
consumers understand that a product containing partially hydrogenated vegetable
oil necessarily has trans fat, so even if an ingredient list has a curative effect in
some cases, it might not here.”).

                                           18
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 25 of 54




Myers’s interpretation of the label. ER 10. The complaint specifically alleged that

the affirmative words on the label were misleading to a reasonable consumer. ER

149 (SAC ¶¶ 45, 46). The complaint made clear why the label was misleading: “A

reasonable consumer would be misled, as Ms. Myers was, into thinking the product

labeled ‘traceable from the farm into our factory’ is traceable and contains

certified, ethically sourced beans. A reasonable consumer would not expect that

once the beans are in ‘our factory’ that Mars abandons tracing or segregating the

beans while making the products, and that there is no meaningful difference

between the products labeled as traceable and those that are not.” Id.

      These allegations are sufficiently specific and put the company on notice of

the factual bases for Ms. Myers’s claims. In evaluating sufficient specificity, the

standard under the CLRA is that plaintiffs allege “the basic premise of ‘what is

false or misleading about a statement, and why.’” Moore, 966 F.3d at 1019. There

is no further requirement that the complaint allege a specific percentage of

consumers that would be deceived or contain further proof of why the assumption

is reasonable. Plaintiff need not allege that all reasonable consumers would be

misled by Mars’s representations, only that Plaintiff’s belief is one reasonable

interpretation of Defendant’s statements. Schippell, 2023 U.S. Dist. LEXIS 139184

at *32-33.




                                         19
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 26 of 54




             A.     The Correct Standard on A Motion to Dismiss is
                    Plausibility of the Allegations.

      It is well-established that to survive a motion to dismiss, a complaint “does

not need detailed factual allegations,” but instead only needs enough factual

allegations “to raise a right to relief above the speculative level.” Bell Atlantic Corp

v. Twombly, 550 U.S. 544, 555 (2007). A suit may proceed to discovery if it alleges

“enough facts to state a claim to relief that is plausible on its face.” Id. at 570

(emphasis added). A claim “has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

      The standard on a motion to dismiss in a CLRA or UCL case is simply

whether it is plausible that the reasonable consumer would be deceived. Reid, 780

F.3d at 959. “Whether a reasonable consumer would be deceived by a product label

is generally a question of fact not amenable to determination on a motion to dismiss.”

Ham v. Hain Celestial Group, Inc., 70 F. Supp. 3d 1188, 1193 (N.D. Cal. 2014); see

also Orshan v. Apple Inc., 804 F. App’x 675 (9th Cir. 2020) (“Whether a particular

business practice could mislead reasonable consumers is usually a question of fact

for the jury.”); Williams, 552 F.3d at 938; Hitt v. Arizona Beverage Co., LLC, No.

08cv809 WQH (POR), 2009 WL 449190, at *7 (S.D. Cal. Feb. 4, 2009). California

state courts agree that these questions cannot be determined at the demurrer stage.

Linear Technology Corp. v. Applied Materials, Inc., 152 Cal. App. 4th 115, 134-35

                                          20
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 27 of 54




(Cal. Ct. App. 2007) (“Whether a practice is deceptive, fraudulent, or unfair is

generally a question of fact which requires consideration and weighing of evidence

from both sides and which usually cannot be made on demurrer.”); People v.

McKale, 25 Cal.3d 626, 635 (1979) (“What constitutes ‘unfair competition’ or

‘unfair or fraudulent business practice’ under any given set of circumstances is a

question of fact… the essential test being whether the public is likely to be

deceived…”). The burden on plaintiffs to survive a motion to dismiss is much

lighter than the burden to survive a motion for summary judgment. See, e.g., Bell v.

Publix Super Markets, Inc., 982 F.3d 468, 483 (7th Cir. 2020).

            B.     Ms. Myers Adequately Alleged that the Affirmative
                   Misrepresentation Misled Her and Would Mislead a
                   Reasonable Consumer.
      Under California law, a “reasonable consumer” is “an ordinary consumer

acting reasonably under the circumstances. Such a consumer need not be

exceptionally acute and sophisticated, nor must they necessarily be wary or

suspicious of advertising claims.” Salazar, 83 Cal. App. 5th at 566; accord Ebner v.

Fresh, Inc., 838 F.3d 958, 965 (9th Cir. 2016); Williams, 552 F.3d at 938.

      Myers’s allegations, listed here, are more than sufficient to establish the

plausibility of her claim that the statement on the package was misleading and

deceptive to both her and other reasonable consumers: (1) “Mars’ claim on its DOVE

Dark Chocolate bars that those products’ beans are ‘traceable from the farms into


                                        21
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 28 of 54




our factories’ is misleading because a reasonable consumer like Ms. Myers would

assume that this statement meant the product was made with traceable, certified

beans,” ER 149 (SAC ¶ 45); (2) “Mars admits that it labels DOVE Dark Chocolate

products differently than the rest of its products, so that only select packages have

‘We buy cocoa from Rainforest Alliance CertifiedTM farms, traceable from the farms

into our factory.’ Thus, a reasonable consumer would assume the difference in

packaging and representations for this line meant there was some meaningful

difference in the content of the bars,” ER 149 (SAC ¶ 46); (3) “A reasonable

consumer would be misled, as Ms. Myers was, into thinking the product labeled

‘traceable from the farm into the factory’ is traceable and contained certified,

ethically sourced beans,” ER 150 (SAC ¶ 48); and (4) “A reasonable consumer

would not expect that once the beans are in ‘our factory’ that Mars abandons tracing

or segregating the beans while making the products, and that there is no meaningful

difference between the products labeled as traceable and those that are not.” ER 150

(SAC ¶ 48).

      The allegations in this case are similar to those in Gardner v. StarKist Co. In

that case, plaintiffs alleged that the defendant engaged in a campaign that led

consumers to believe that its tuna products met a higher standard for sustainability,

traceability, and dolphin safety than was legally required. Gardner v. StarKist Co.,

418 F. Supp. 3d 443, 450 (N.D. Cal. 2019). The campaign involved the use of a


                                         22
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 29 of 54




distinctive mark and public statements regarding the safety of its tuna products. Id.

at 450-51. The court found, however, that there was no way the defendant’s claims

regarding animal welfare and sustainability could be true, given the fishing

techniques that it used. Id. at 456. The court found that the plaintiffs adequately

alleged that they, reasonable consumers, were actually deceived by the use of the

mark and the public statements, and would not have paid a premium for the

defendant’s products had they known its statements and labels were deceptive. Id. at

458-9; see also Koh v. S.C. Johnson & Son, Inc., No. C-09-00927 RMW, 2010 WL

94265 at *2-3 (N.D. Cal. January 5, 2010) (“Greenlist” label on Windex products

would deceive reasonable consumers into thinking such products had been certified

as environmentally friendly). So too here: Myers has pointed to specific instances

that demonstrate that she, as a reasonable consumer, was misled by Mars’s

packaging and would not have purchased the Dove Dark Chocolate products absent

Mars’s false and misleading assertions re: traceability. ER 139, 140-41, 149-50

(SAC ¶¶ 9, 15, 45-48). Like the Gardner plaintiffs, Myers plausibly alleges that she

herself relied on Mars’s representations, that she purchased Dove Dark Chocolate

products based on those representations, and that she was harmed when she learned

that Mars’s representations were false. Gardner, 418 F. Supp 3d at 459. Therefore,

as in Gardner, her case should survive a motion to dismiss.




                                         23
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 30 of 54




      In short, the District Court erred in holding that no reasonable consumer could

be misled by a product label reading “traceable from the farms” to assume that the

cocoa contained therein was indeed “traceable.” ER 8, 10. The facts as pled are

more than sufficient to satisfy the plausibility standard.

             C.     Specific Evidence Supporting Plaintiff’s Claims is Not
                    Required at the Pleading Stage.
      California law does not require plaintiffs to allege extrinsic evidence in the

complaint, such as consumer surveys or expert reports, to state a claim of false or

misleading advertising or representation under the UCL or CLRA. Rather, “the

primary evidence in a false advertising case is the advertising itself.” Williams, 552

F.3d at 938 (citing Brockey v. Moore, 107 Cal. App. 4th 86, 100 (Cal. Ct. App.

2003)). One of the state law cases the District court relied on, Colgan, 135 Cal. App.

4th at 681-2, holds that even at the summary judgment stage, California case law

“reject[s the] view that a plaintiff must produce a consumer survey or similar

extrinsic evidence to prevail on a claim that the public is likely to be misled by a

representation... [W]ith regard to the showing of deception, the primary evidence in

a false advertising case is the advertising itself.” (internal quotations omitted). See

also Hadley v. Kellogg Sales Co., 324 F. Supp. 3d 1084, 1115 (N.D. Cal 2018),

Lambert v. Nutraceutical Corp., 2020 U.S. Dist. LEXIS 6391 at *25 (C.D. Cal. Jan.

8, 2020) (“the absence of a consumer survey does not alone defeat materiality”).

Colgan affirms that requiring extrinsic evidence to prove claims of false or

                                          24
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 31 of 54




misleading advertising is a misinterpretation of state law. Colgan, 135 Cal. App. 4th

at 681; see also Silicon Image, Inc. v. Analogix Semiconductor, Inc., 642 F. Supp.

2d 957, 968-9 (N.D. Cal. 2008).

      Following Williams and Colgan, courts in the Ninth Circuit explicitly do not

require extrinsic evidence to support UCL and CLRA claims, even at the motion for

summary judgment stage. Spangler v. Nat’l College of Tech. Instruction, No. 14-

cv-3005 DMS (RBB), 2016 WL 11772280 at *7 (S.D. Cal. Oct. 24, 2016)

(“Although extrinsic evidence may be admitted [at the summary judgment stage] to

prove a representation is misleading, it is not required.”); Lytle v. Nutramax Labs.,

Inc., Case No. ED CV 19-0835 FMO (SPx), 2022 WL 1600047 at *5 (C.D. Cal.

May 6, 2022) (“California courts have expressly rejected the view that a plaintiff

must produce a consumer survey or similar extrinsic evidence to prevail on a claim

that the public is likely to be misled by a representation.”) (internal citation omitted).

As extrinsic evidence is not required at summary judgment, there were no additional

facts that needed to be alleged in the complaint about the reasonableness of

consumers like Myers who assumed that the products they purchased were made

with traceable, certified cocoa.

      The district court erred in requiring anything more than the allegations Myers

made, i.e., that she was deceived into thinking that the product differed from Mars’s

other products and was made from traceable, certified cocoa, and that the reasonable


                                           25
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 32 of 54




consumer would have been so misled. That plausible allegation sufficiently put

Mars on notice of the claims against it. Myers adequately states her UCL and CLRA

claims against Mars.

                                CONCLUSION

      The dismissal of Mars’s claims should be reversed and the case remanded

for further proceedings.


Dated: September 13, 2023               By: s/ Catherine Sweetser
                                               Catherine Sweetser
                                         Attorney for Plaintiff-Appellant.




                                        26
        Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 33 of 54




                    UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT

                    Form 8. Certificate of Compliance for Briefs

9th Cir. Case Number 22-55930

       I am the attorney or self-represented party.

       This brief contains 6,306 words, excluding the items exempted by Fed. R.

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            s/ Catherine Sweetser
Signature _________________________________       September 13, 2023
                                            Date ____________________
           Catherine Sweetser




                                            27
       Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 34 of 54




                         CERTIFICATE OF SERVICE

      I hereby certify that on September 13, 2023, I electronically filed the

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Dated: September 13, 2023                By: s/ Catherine Sweetser
                                                Catherine Sweetser




                                         28
Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 35 of 54




                           ADDENDUM




                                A-1
         Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 36 of 54




                                   STATUTORY ADDENDUM

CALIFORNIA CONSUMER LEGAL REMEDIES ACT, CAL. CIV. CODE §§ 1750-1785

§ 1750

This title may be cited as the Consumers Legal Remedies Act.

§ 1751

Any waiver by a consumer of the provisions of this title is contrary to public policy and shall be
unenforceable and void.

§ 1752

The provisions of this title are not exclusive. The remedies provided herein for violation of any
section of this title or for conduct proscribed by any section of this title shall be in addition to
any other procedures or remedies for any violation or conduct provided for in any other law.
Nothing in this title shall limit any other statutory or any common law rights of the Attorney
General or any other person to bring class actions. Class actions by consumers brought under the
specific provisions of Chapter 3 (commencing with Section 1770) of this title shall be governed
exclusively by the provisions of Chapter 4 (commencing with Section 1780); however, this shall
not be construed so as to deprive a consumer of any statutory or common law right to bring a
class action without resort to this title. If any act or practice proscribed under this title also
constitutes a cause of action in common law or a violation of another statute, the consumer may
assert such common law or statutory cause of action under the procedures and with the remedies
provided for in such law.

§ 1753

If any provision of this title or the application thereof to any person or circumstance is held to be
unconstitutional, the remainder of the title and the application of such provision to other persons
or circumstances shall not be affected thereby.

§ 1754

The provisions of this title shall not apply to any transaction which provides for the construction,
sale, or construction and sale of an entire residence or all or part of a structure designed for
commercial or industrial occupancy, with or without a parcel of real property or an interest
therein, or for the sale of a lot or parcel of real property, including any site preparation incidental
to such sale.

§ 1755

Nothing in this title shall apply to the owners or employees of any advertising medium,
including, but not limited to, newspapers, magazines, broadcast stations, billboards and transit




                                                 A-1
           Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 37 of 54




ads, by whom any advertisement in violation of this title is published or disseminated, unless it is
established that such owners or employees had knowledge of the deceptive methods, acts or
practices declared to be unlawful by Section 1770.

§ 1756

The substantive and procedural provisions of this title shall only apply to actions filed on or after
January 1, 1971.

§ 1760

This title shall be liberally construed and applied to promote its underlying purposes, which are
to protect consumers against unfair and deceptive business practices and to provide efficient and
economical procedures to secure such protection.

§ 1761

As used in this title:

     a.      "Goods" means tangible chattels bought or leased for use primarily for personal,
             family, or household purposes, including certificates or coupons exchangeable for
             these goods, and including goods that, at the time of the sale or subsequently, are to
             be so affixed to real property as to become a part of real property, whether or not they
             are severable from the real property.
     b.      "Services" means work, labor, and services for other than a commercial or business
             use, including services furnished in connection with the sale or repair of goods.
     c.      "Person" means an individual, partnership, corporation, limited liability company,
             association, or other group, however organized.
     d.      "Consumer" means an individual who seeks or acquires, by purchase or lease, any
             goods or services for personal, family, or household purposes.
     e.      "Transaction" means an agreement between a consumer and any other person,
             whether or not the agreement is a contract enforceable by action, and includes the
             making of, and the performance pursuant to, that agreement.
     f.      "Senior citizen" means a person who is 65 years of age or older.
     g.      "Disabled person" means any person who has a physical or mental impairment that
             substantially limits one or more major life activities.
     h.      "Home solicitation" means any transaction made at the consumer's primary residence,
             except those transactions initiated by the consumer. A consumer response to an
             advertisement is not a home solicitation.

1.        As used in this subdivision, "physical or mental impairment" means any of the following:

     A.      Any physiological disorder or condition, cosmetic disfigurement, or anatomical loss
             substantially affecting one or more of the following body systems: neurological;
             musculoskeletal; special sense organs; respiratory, including speech organs;




                                                 A-2
         Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 38 of 54




           cardiovascular; reproductive; digestive; genitourinary; hemic and lymphatic; skin; or
           endocrine.

   B.      Any mental or psychological disorder, such as mental retardation, organic brain
           syndrome, emotional or mental illness, and specific learning disabilities. "Physical or
           mental impairment" includes, but is not limited to, such diseases and conditions as
           orthopedic, visual, speech, and hearing impairment, cerebral palsy, epilepsy,
           muscular dystrophy, multiple sclerosis, cancer, heart disease, diabetes, mental
           retardation, and emotional illness.

2.      "Major life activities" means functions such as caring for one's self, performing manual
tasks, walking, seeing, hearing, speaking, breathing, learning, and working.

§ 1770

a.      The unfair methods of competition and unfair or deceptive acts or practices listed in this
subdivision undertaken by any person in a transaction intended to result or that results in the sale
or lease of goods or services to any consumer are unlawful:

   1.      Passing off goods or services as those of another.
   2.      Misrepresenting the source, sponsorship, approval, or certification of goods or
           services.
   3.      Misrepresenting the affiliation, connection, or association with, or certification by,
           another.
   4.      Using deceptive representations or designations of geographic origin in connection
           with goods or services.
   5.      Representing that goods or services have sponsorship, approval, characteristics,
           ingredients, uses, benefits, or quantities that they do not have or that a person has a
           sponsorship, approval, status, affiliation, or connection that the person does not have.
   6.      Representing that goods are original or new if they have deteriorated unreasonably or
           are altered, reconditioned, reclaimed, used, or secondhand.
   7.      Representing that goods or services are of a particular standard, quality, or grade, or
           that goods are of a particular style or model, if they are of another.
   8.      Disparaging the goods, services, or business of another by false or misleading
           representation of fact.
   9.      Advertising goods or services with intent not to sell them as advertised.
   10.     Advertising goods or services with intent not to supply reasonably expectable
           demand, unless the advertisement discloses a limitation of quantity.
   11.     Advertising furniture without clearly indicating that it is unassembled if that is the
           case.
   12.     Advertising the price of unassembled furniture without clearly indicating the
           assembled price of that furniture if the same furniture is available assembled from the
           seller.
   13.     Making false or misleading statements of fact concerning reasons for, existence of, or
           amounts of price reductions.




                                                A-3
      Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 39 of 54




14.     Representing that a transaction confers or involves rights, remedies, or obligations
        that it does not have or involve, or that are prohibited by law.
15.     Representing that a part, replacement, or repair service is needed when it is not.
16.     Representing that the subject of a transaction has been supplied in accordance with a
        previous representation when it has not.
17.     Representing that the consumer will receive a rebate, discount, or other economic
        benefit, if the earning of the benefit is contingent on an event to occur subsequent to
        the consummation of the transaction.
18.     Misrepresenting the authority of a salesperson, representative, or agent to negotiate
        the final terms of a transaction with a consumer.
19.     Inserting an unconscionable provision in the contract.
20.     Advertising that a product is being offered at a specific price plus a specific
        percentage of that price unless (A) the total price is set forth in the advertisement,
        which may include, but is not limited to, shelf tags, displays, and media advertising,
        in a size larger than any other price in that advertisement, and (B) the specific price
        plus a specific percentage of that price represents a markup from the seller's costs or
        from the wholesale price of the product. This subdivision shall not apply to in-store
        advertising by businesses that are open only to members or cooperative organizations
        organized pursuant to Division 3 (commencing with Section 12000) of Title 1 of the
        Corporations Code if more than 50 percent of purchases are made at the specific price
        set forth in the advertisement.
21.     Selling or leasing goods in violation of Chapter 4 (commencing with Section 1797.8)
        of Title 1.7.
22.
        A.     Disseminating an unsolicited prerecorded message by telephone without an
               unrecorded, natural voice first informing the person answering the telephone
               of the name of the caller or the organization being represented, and either the
               address or the telephone number of the caller, and without obtaining the
               consent of that person to listen to the prerecorded message.
        B.     This subdivision does not apply to a message disseminated to a business
               associate, customer, or other person having an established relationship with
               the person or organization making the call, to a call for the purpose of
               collecting an existing obligation, or to any call generated at the request of the
               recipient.
23.
        A.     The home solicitation, as defined in subdivision (h) of Section 1761, of a
               consumer who is a senior citizen where a loan or assessment is made
               encumbering the primary residence of that consumer for purposes of paying
               for home improvements and where the transaction is part of a pattern or
               practice in violation any of the following: (i) Subsection (h) or (i) of Section
               1639 of Title 15 of the United States Code. (ii) Paragraph (1), (2), or (4) of
               subdivision (a) of Section 226.34 of Title 12 of the Code of Federal
               Regulations. (iii) Section 22684, 22685, 22686, or 22687 of the Financial
               Code. (iv) Section 5898.16, 5898.17, 5913, 5922, 5923, 5924, 5925, 5926, or
               5940 of the Streets and Highways Code.




                                            A-4
      Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 40 of 54




        B.    A third party shall not be liable under this subdivision unless (i) there was an
              agency relationship between the party who engaged in home solicitation and
              the third party, or (ii) the third party had actual knowledge of, or participated
              in, the unfair or deceptive transaction. A third party who is a holder in due
              course under a home solicitation transaction shall not be liable under this
              subdivision.
24.
        A.    Charging or receiving an unreasonable fee to prepare, aid, or advise any
              prospective applicant, applicant, or recipient in the procurement, maintenance,
              or securing of public social services.
        B.    For purposes of this paragraph:
               i. “Public social services” means those activities and functions of state and
                  local government administered or supervised by the State Department of
                  Health Care Services, the State Department of Public Health, or the State
                  Department of Social Services, and involved in providing aid or services,
                  or both, including health care services, and medical assistance, to those
                  persons who, because of their economic circumstances or social condition,
                  are in need of that aid or those services and may benefit from them.
              ii. “Public social services” also includes activities and functions administered
                  or supervised by the United States Department of Veterans Affairs or the
                  California Department of Veterans Affairs involved in providing aid or
                  services, or both, to veterans, including pension benefits.
             iii. “Unreasonable fee” means a fee that is exorbitant and disproportionate to
                  the services performed. Factors to be considered, if appropriate, in
                  determining the reasonableness of a fee, are based on the circumstances
                  existing at the time of the service and shall include, but not be limited to,
                  all of the following:
                       1. The time and effort required.
                       2. The novelty and difficulty of the services.
                       3. The skill required to perform the services.
                       4. The nature and length of the professional relationship.
                       5. The experience, reputation, and ability of the person providing the
                           services.
        C.    This paragraph shall not apply to attorneys licensed to practice law in
              California, who are subject to the California Rules of Professional Conduct
              and to the mandatory fee arbitration provisions of Article 13 (commencing
              with Section 6200) of Chapter 4 of Division 3 of the Business and Professions
              Code, when the fees charged or received are for providing representation in
              administrative agency appeal proceedings or court proceedings for purposes
              of procuring, maintaining, or securing public social services on behalf of a
              person or group of persons.
25.
        A.    Advertising or promoting any event, presentation, seminar, workshop, or other
              public gathering regarding veterans’ benefits or entitlements that does not
              include the following statement in the same type size and font as the term
              “veteran” or any variation of that term:




                                           A-5
      Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 41 of 54




                 i. “I am not authorized to file an initial application for Veterans’ Aid and
                    Attendance benefits on your behalf, or to represent you before the Board
                    of Veterans’ Appeals within the United States Department of Veterans
                    Affairs in any proceeding on any matter, including an application for those
                    benefits. It would be illegal for me to accept a fee for preparing that
                    application on your behalf.” The requirements of this clause do not apply
                    to a person licensed to act as an agent or attorney in proceedings before
                    the Agency of Original Jurisdiction and the Board of Veterans’ Appeals
                    within the United States Department of Veterans Affairs when that person
                    is offering those services at the advertised event.
               ii. The statement in clause (i) shall also be disseminated, both orally and in
                    writing, at the beginning of any event, presentation, seminar, workshop, or
                    public gathering regarding veterans’ benefits or entitlements.
        B.      Advertising or promoting any event, presentation, seminar, workshop, or other
                public gathering regarding veterans’ benefits or entitlements that is not
                sponsored by, or affiliated with, the United States Department of Veterans
                Affairs, the California Department of Veterans Affairs, or any other
                congressionally chartered or recognized organization of honorably discharged
                members of the Armed Forces of the United States, or any of their auxiliaries
                that does not include the following statement, in the same type size and font as
                the term “veteran” or the variation of that term:
                “This event is not sponsored by, or affiliated with, the United States
                Department of Veterans Affairs, the California Department of Veterans
                Affairs, or any other congressionally chartered or recognized organization of
                honorably discharged members of the Armed Forces of the United States, or
                any of their auxiliaries. None of the insurance products promoted at this sales
                event are endorsed by those organizations, all of which offer free advice to
                veterans about how to qualify and apply for benefits.”
                 i. The statement in this subparagraph shall be disseminated, both orally and
                    in writing, at the beginning of any event, presentation, seminar, workshop,
                    or public gathering regarding veterans’ benefits or entitlements.
               ii. The requirements of this subparagraph shall not apply in a case where the
                    United States Department of Veterans Affairs, the California Department
                    of Veterans Affairs, or other congressionally chartered or recognized
                    organization of honorably discharged members of the Armed Forces of the
                    United States, or any of their auxiliaries have granted written permission
                    to the advertiser or promoter for the use of its name, symbol, or insignia to
                    advertise or promote the event, presentation, seminar, workshop, or other
                    public gathering.
26.     Advertising, offering for sale, or selling a financial product that is illegal under state
        or federal law, including any cash payment for the assignment to a third party of the
        consumer’s right to receive future pension or veteran’s benefits.
27.      Representing that a product is made in California by using a Made in California label
        created pursuant to Section 12098.10 of the Government Code, unless the product
        complies with Section 12098.10 of the Government Code.
28.




                                            A-6
        Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 42 of 54




           A.      Failing to include either of the following in a solicitation by a covered person,
                   or an entity acting on behalf of a covered person, to a consumer for a
                   consumer financial product or service:
                    i. The name of the covered person, and, if applicable, the entity acting on
                       behalf of the covered person, and relevant contact information, including a
                       mailing address and telephone number.
                   ii. The following disclosure statement in at least 18-point bold type and in the
                       language in which the solicitation is drafted: “THIS IS AN
                       ADVERTISEMENT. YOU ARE NOT REQUIRED TO MAKE ANY
                       PAYMENT OR TAKE ANY OTHER ACTION IN RESPONSE TO
                       THIS OFFER.”
           B.      For purposes of this paragraph:
                    i. “Consumer financial product or service” has the same meaning as defined
                       in Section 90005 of the Financial Code.
                   ii.
                           1. “Covered person” has the same meaning as defined in Section
                               90005 of the Financial Code.
                           2. “Covered person” does not mean an entity exempt from Division
                               24 (commencing with Section 90000) of the Financial Code
                               pursuant to Section 90002 of the Financial Code.
                  iii. “Solicitation” means an advertisement or marketing communication
                       through writing or graphics that is directed to, or likely to give the
                       impression of being directed to, an individually identified person,
                       residence, or business location. “Solicitation” does not include any of the
                       following:
                           1. Communication through a mass advertisement, including in a
                               catalog, on a radio or television broadcast, or on a publicly
                               accessible internet website, if that communication is not directed
                               to, or is not likely to give the impression of being directed to, an
                               individually identified person, residence, or business location.
                           2. Communication via a telephone, mail, or electronic
                               communication that was initiated by a consumer.
                           3. A written credit or insurance solicitation that is subject to the
                               disclosure requirements of subsection (d) of Section 1681m of
                               Title 15 of the United States Code.

(b)      It is an unfair or deceptive act or practice for a mortgage broker or lender, directly or
indirectly, to use a home improvement contractor to negotiate the terms of any loan that is
secured, whether in whole or in part, by the residence of the borrower and that is used to finance
a home improvement contract or any portion of a home improvement contract. For purposes of
this subdivision, “mortgage broker or lender” includes a finance lender licensed pursuant to the
California Financing Law (Division 9 (commencing with Section 22000) of the Financial Code),
a residential mortgage lender licensed pursuant to the California Residential Mortgage Lending
Act (Division 20 (commencing with Section 50000) of the Financial Code), or a real estate
broker licensed under the Real Estate Law (Division 4 (commencing with Section 10000) of the
Business and Professions Code).




                                               A-7
           Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 43 of 54




          2. This section shall not be construed to either authorize or prohibit a home improvement
          contractor from referring a consumer to a mortgage broker or lender by this subdivision.
          However, a home improvement contractor may refer a consumer to a mortgage lender or
          broker if that referral does not violate Section 7157 of the Business and Professions Code
          or any other law. A mortgage lender or broker may purchase an executed home
          improvement contract if that purchase does not violate Section 7157 of the Business and
          Professions Code or any other law. Nothing in this paragraph shall have any effect on the
          application of Chapter 1 (commencing with Section 1801) of Title 2 to a home
          improvement transaction or the financing of a home improvement transaction.

§ 1780

a.      Any consumer who suffers any damage as a result of the use or employment by any
person of a method, act, or practice declared to be unlawful by Section 1770 may bring an action
against that person to recover or obtain any of the following:

     1.      Actual damages, but in no case shall the total award of damages in a class action be
             less than one thousand dollars ($1,000).
     2.      An order enjoining the methods, acts, or practices.
     3.      Restitution of property.
     4.      Punitive damages.
     5.      Any other relief that the court deems proper.

b.
     1.      Any consumer who is a senior citizen or a disabled person, as defined in subdivisions
             (f) and (g) of Section 1761, as part of an action under subdivision (a), may seek and
             be awarded, in addition to the remedies specified therein, up to five thousand dollars
             ($5,000) where the trier of fact does all of the following:
             A. Finds that the consumer has suffered substantial physical, emotional, or economic
                  damage resulting from the defendant's conduct.
             B. Makes an affirmative finding in regard to one or more of the factors set forth in
                  subdivision (b) of Section 3345.
             C. Finds that an additional award is appropriate.
     2.      Judgment in a class action by senior citizens or disabled persons under Section 1781
             may award each class member that additional award if the trier of fact has made the
             foregoing findings.

c.      Whenever it is proven by a preponderance of the evidence that a defendant has engaged
in conduct in violation of paragraph (24) of subdivision (a) of Section 1770, in addition to all
other remedies otherwise provided in this section, the court shall award treble actual damages to
the plaintiff. This subdivision shall not apply to attorneys licensed to practice law in California,
who are subject to the California Rules of Professional Conduct and to the mandatory fee
arbitration provisions of Article 13 (commencing with Section 6200) of Chapter 4 of Division 3
of the Business and Professions Code, when the fees charged or received are for providing
representation in administrative agency appeal proceedings or court proceedings for purposes of




                                                 A-8
         Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 44 of 54




procuring, maintaining, or securing public social services on behalf of a person or group of
persons.

d.       An action under subdivision (a) or (b) may be commenced in the county in which the
person against whom it is brought resides, has his or her principal place of business, or is doing
business, or in the county where the transaction or any substantial portion thereof occurred.
In any action subject to this section, concurrently with the filing of the complaint, the plaintiff
shall file an affidavit stating facts showing that the action has been commenced in a county
described in this section as a proper place for the trial of the action. If a plaintiff fails to file the
affidavit required by this section, the court shall, upon its own motion or upon motion of any
party, dismiss the action without prejudice.

e.      The court shall award court costs and attorney's fees to a prevailing plaintiff in litigation
filed pursuant to this section. Reasonable attorney's fees may be awarded to a prevailing
defendant upon a finding by the court that the plaintiff's prosecution of the action was not in
good faith.

§ 1781
a.     Any consumer entitled to bring an action under Section 1780 may, if the unlawful
method, act, or practice has caused damage to other consumers similarly situated, bring an action
on behalf of himself and such other consumers to recover damages or obtain other relief as
provided for in Section 1780.

b.     The court shall permit the suit to be maintained on behalf of all members of the
represented class if all of the following conditions exist:

            1.      It is impracticable to bring all members of the class before the court.
            2.      The questions of law or fact common to the class are substantially similar and
                    predominate over the questions affecting the individual members.
            3.      The claims or defenses of the representative plaintiffs are typical of the claims
                    or defenses of the class.
            4.      The representative plaintiffs will fairly and adequately protect the interests of
                    the class.

c.      If notice of the time and place of the hearing is served upon the other parties at least 10
days prior thereto, the court shall hold a hearing, upon motion of any party to the action which is
supported by affidavit of any person or persons having knowledge of the facts, to determine if
any of the following apply to the action:
   1.       A class action pursuant to subdivision (b) is proper.
   2.       Published notice pursuant to subdivision (d) is necessary to adjudicate the claims of
            the class.
   3.       The action is without merit or there is no defense to the action.

A motion based upon Section 437c of the Code of Civil Procedure shall not be granted in any
action commenced as a class action pursuant to subdivision (a).




                                                   A-9
          Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 45 of 54




d.       If the action is permitted as a class action, the court may direct either party to notify each
member of the class of the action. The party required to serve notice may, with the consent of the
court, if personal notification is unreasonably expensive or it appears that all members of the
class cannot be notified personally, give notice as prescribed herein by publication in accordance
with Section 6064 of the Government Code in a newspaper of general circulation in the county in
which the transaction occurred.

e.      The notice required by subdivision (d) shall include the following:
     1.    The court will exclude the member notified from the class if he so requests by a
           specified date.
     2.    The judgment, whether favorable or not, will include all members who do not request
           exclusion.
     3.    Any member who does not request exclusion, may, if he desires, enter an appearance
           through counsel.

f.      A class action shall not be dismissed, settled, or compromised without the approval of the
court, and notice of the proposed dismissal, settlement, or compromise shall be given in such
manner as the court directs to each member who was given notice pursuant to subdivision (d)
and did not request exclusion.

g.     The judgment in a class action shall describe those to whom the notice was directed and
who have not requested exclusion and those the court finds to be members of the class. The best
possible notice of the judgment shall be given in such manner as the court directs to each
member who was personally served with notice pursuant to subdivision (d) and did not request
exclusion.

§ 1782

a.       Thirty days or more prior to the commencement of an action for damages pursuant to this
title, the consumer shall do the following:

     1.     Notify the person alleged to have employed or committed methods, acts, or practices
            declared unlawful by Section 1770 of the particular alleged violations of Section
            1770.
     2.     Demand that the person correct, repair, replace, or otherwise rectify the goods or
            services alleged to be in violation of Section 1770.

The notice shall be in writing and shall be sent by certified or registered mail, return receipt
requested, to the place where the transaction occurred or to the person's principal place of
business within California.

b.      Except as provided in subdivision (c), no action for damages may be maintained under
Section 1780 if an appropriate correction, repair, replacement, or other remedy is given, or
agreed to be given within a reasonable time, to the consumer within 30 days after receipt of the
notice.




                                                A-10
         Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 46 of 54




c.     No action for damages may be maintained under Section 1781 upon a showing by a
person alleged to have employed or committed methods, acts, or practices declared unlawful by
Section 1770 that all of the following exist:
    1.     All consumers similarly situated have been identified, or a reasonable effort to
           identify such other consumers has been made.
    2.     All consumers so identified have been notified that upon their request the person shall
           make the appropriate correction, repair, replacement, or other remedy of the goods
           and services.
    3.     The correction, repair, replacement, or other remedy requested by the consumers has
           been, or, in a reasonable time, shall be, given.
    4.     The person has ceased from engaging, or if immediate cessation is impossible or
           unreasonably expensive under the circumstances, the person will, within a reasonable
           time, cease to engage, in the methods, act, or practices.

d.      An action for injunctive relief brought under the specific provisions of Section 1770 may
be commenced without compliance with subdivision (a). Not less than 30 days after the
commencement of an action for injunctive relief, and after compliance with subdivision (a), the
consumer may amend his or her complaint without leave of court to include a request for
damages. The appropriate provisions of subdivision (b) or (c) shall be applicable if the complaint
for injunctive relief is amended to request damages.

e.      Attempts to comply with this section by a person receiving a demand shall be construed
to be an offer to compromise and shall be inadmissible as evidence pursuant to Section 1152 of
the Evidence Code. Furthermore, these attempts to comply with a demand shall not be
considered an admission of engaging in an act or practice declared unlawful by Section 1770.
Evidence of compliance or attempts to comply with this section may be introduced by a
defendant for the purpose of establishing good faith or to show compliance with this section.

§ 1783

Any action brought under the specific provisions of Section 1770 shall be commenced not more
than three years from the date of the commission of such method, act, or practice.

§ 1784

No award of damages may be given in any action based on a method, act, or practice declared to
be unlawful by Section 1770 if the person alleged to have employed or committed such method,
act, or practice (a) proves that such violation was not intentional and resulted from a bona fide
error notwithstanding the use of reasonable procedures adopted to avoid any such error and (b)
makes an appropriate correction, repair or replacement or other remedy of the goods and services
according to the provisions of subdivisions (b) and (c) of Section 1782.




                                              A-11
          Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 47 of 54




CALIFORNIA UNFAIR COMPETITION LAW, CAL. BUS. & PROF. CODE §§ 17200-
17210

§ 17200

As used in this chapter, unfair competition shall mean and include any unlawful, unfair or
fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising and
any act prohibited by Chapter 1 (commencing with Section 17500) of Part 3 of Division 7 of the
Business and Professions Code.

§ 17201

As used in this chapter, the term person shall mean and include natural persons, corporations,
firms, partnerships, joint stock companies, associations and other organizations of persons.

§ 17201.5

As used in this chapter:
a.      “Board within the Department of Consumer Affairs” includes any commission, bureau,
division, or other similarly constituted agency within the Department of Consumer Affairs.
b.      “Local consumer affairs agency” means and includes any city or county body which
primarily provides consumer protection services.

§ 17202

Notwithstanding Section 3369 of the Civil Code, specific or preventive relief may be granted to
enforce a penalty, forfeiture, or penal law in a case of unfair competition.

§ 17203

Any person who engages, has engaged, or proposes to engage in unfair competition may be
enjoined in any court of competent jurisdiction. The court may make such orders or judgments,
including the appointment of a receiver, as may be necessary to prevent the use or employment
by any person of any practice which constitutes unfair competition, as defined in this chapter, or
as may be necessary to restore to any person in interest any money or property, real or personal,
which may have been acquired by means of such unfair competition. Any person may pursue
representative claims or relief on behalf of others only if the claimant meets the standing
requirements of Section 17204 and complies with Section 382 of the Code of Civil Procedure,
but these limitations do not apply to claims brought under this chapter by the Attorney General,
or any district attorney, county counsel, city attorney, or city prosecutor in this state.

§ 17204

Actions for relief pursuant to this chapter shall be prosecuted exclusively in a court of competent
jurisdiction by the Attorney General or a district attorney or by a county counsel authorized by
agreement with the district attorney in actions involving violation of a county ordinance, or by a



                                              A-12
          Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 48 of 54




city attorney of a city having a population in excess of 750,000, or by a county counsel of any
county within which a city has a population in excess of 750,000, or by a city attorney in a city
and county or, with the consent of the district attorney, by a city prosecutor in a city having a
full-time city prosecutor in the name of the people of the State of California upon their own
complaint or upon the complaint of a board, officer, person, corporation, or association, or by a
person who has suffered injury in fact and has lost money or property as a result of the unfair
competition.

§ 17205

Unless otherwise expressly provided, the remedies or penalties provided by this chapter are
cumulative to each other and to the remedies or penalties available under all other laws of this
state.

§ 17206

(a)      Any person who engages, has engaged, or proposes to engage in unfair competition shall
be liable for a civil penalty not to exceed two thousand five hundred dollars ($2,500) for each
violation, which shall be assessed and recovered in a civil action brought in the name of the
people of the State of California by the Attorney General, by any district attorney, by any county
counsel authorized by agreement with the district attorney in actions involving violation of a
county ordinance, by any city attorney of a city having a population in excess of 750,000, or by a
county counsel of any county within which a city has a population in excess of 750,000, by any
city attorney of any city and county, or, with the consent of the district attorney, by a city
prosecutor in any city having a full-time city prosecutor, in any court of competent jurisdiction.

(b)     The court shall impose a civil penalty for each violation of this chapter. In assessing the
amount of the civil penalty, the court shall consider any one or more of the relevant
circumstances presented by any of the parties to the case, including, but not limited to, the
following: the nature and seriousness of the misconduct, the number of violations, the
persistence of the misconduct, the length of time over which the misconduct occurred, the
willfulness of the defendant’s misconduct, and the defendant’s assets, liabilities, and net worth.

(c)
             1. If the action is brought by the Attorney General, one-half of the penalty collected
                shall be paid to the treasurer of the county in which the judgment was entered,
                and one-half to the General Fund.
             2. If the action is brought by a district attorney or county counsel, the penalty
                collected shall be paid to the treasurer of the county in which the judgment was
                entered.
             3.
                A. Except as provided in subparagraph (B) and subdivision (e), if the action is
                     brought by a city attorney or city prosecutor, one-half of the penalty collected
                     shall be paid to the treasurer of the city in which the judgment was entered,
                     and one-half to the treasurer of the county in which the judgment was
                     entered.




                                               A-13
        Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 49 of 54




               B. If the action is brought by the City Attorney of San Diego, the penalty
                   collected shall be paid to the treasurer of the City of San Diego.
            4. The aforementioned funds shall be for the exclusive use by the Attorney General,
               the district attorney, the county counsel, and the city attorney for the enforcement
               of consumer protection laws.

(d)     The Unfair Competition Law Fund is hereby created as a special account within the
General Fund in the State Treasury. The portion of penalties that is payable to the General Fund
or to the Treasurer recovered by the Attorney General from an action or settlement of a claim
made by the Attorney General pursuant to this chapter or Chapter 1 (commencing with Section
17500) of Part 3 shall be deposited into this fund. Moneys in this fund, upon appropriation by the
Legislature, shall be used by the Attorney General to support investigations and prosecutions of
California’s consumer protection laws, including implementation of judgments obtained from
such prosecutions or investigations and other activities which are in furtherance of this chapter or
Chapter 1 (commencing with Section 17500) of Part 3. Notwithstanding Section 13340 of the
Government Code, any civil penalties deposited in the fund pursuant to the National Mortgage
Settlement, as provided in Section 12531 of the Government Code, are continuously
appropriated to the Department of Justice for the purpose of offsetting General Fund costs
incurred by the Department of Justice.

(e)     If the action is brought at the request of a board within the Department of Consumer
Affairs or a local consumer affairs agency, the court shall determine the reasonable expenses
incurred by the board or local agency in the investigation and prosecution of the action.

Before any penalty collected is paid out pursuant to subdivision (c), the amount of any
reasonable expenses incurred by the board shall be paid to the Treasurer for deposit in the special
fund of the board described in Section 205. If the board has no such special fund, the moneys
shall be paid to the Treasurer. The amount of any reasonable expenses incurred by a local
consumer affairs agency shall be paid to the general fund of the municipality or county that funds
the local agency.

(f) If the action is brought by a city attorney of a city and county, the entire amount of the
penalty collected shall be paid to the treasurer of the city and county in which the judgment was
entered for the exclusive use by the city attorney for the enforcement of consumer protection
laws. However, if the action is brought by a city attorney of a city and county for the purposes of
civil enforcement pursuant to Section 17980 of the Health and Safety Code or Article 3
(commencing with Section 11570) of Chapter 10 of Division 10 of the Health and Safety Code,
either the penalty collected shall be paid entirely to the treasurer of the city and county in which
the judgment was entered or, upon the request of the city attorney, the court may order that up to
one-half of the penalty, under court supervision and approval, be paid for the purpose of
restoring, maintaining, or enhancing the premises that were the subject of the action, and that the
balance of the penalty be paid to the treasurer of the city and county.

§ 17206.1

(a)




                                               A-14
        Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 50 of 54




            1. In addition to any liability for a civil penalty pursuant to Section 17206, a person
              who violates this chapter, and the act or acts of unfair competition are perpetrated
              against one or more senior citizens or disabled persons, may be liable for a civil
              penalty not to exceed two thousand five hundred dollars ($2,500) for each
              violation, which may be assessed and recovered in a civil action as prescribed in
              Section 17206.
            2. Subject to subdivision (d), any civil penalty shall be paid as prescribed by
              subdivisions (b) and (c) of Section 17206.

(b)    As used in this section, the following terms have the following meanings:
            1. “Senior citizen” means a person who is 65 years of age or older.
            2. “Disabled person” means a person who has a physical or mental impairment that
                substantially limits one or more major life activities.
               A. As used in this subdivision, “physical or mental impairment” means any of the
                   following:
                    i.   A physiological disorder or condition, cosmetic disfigurement, or
                         anatomical loss substantially affecting one or more of the following
                         body systems: neurological; musculoskeletal; special sense organs;
                         respiratory, including speech organs; cardiovascular; reproductive;
                         digestive; genitourinary; hemic and lymphatic; skin; or endocrine.
                   ii. A mental or psychological disorder, including intellectual disability,
                         organic brain syndrome, emotional or mental illness, and specific
                         learning disabilities.
“Physical or mental impairment” includes, but is not limited to, diseases and conditions
including orthopedic, visual, speech, and hearing impairment, cerebral palsy, epilepsy, muscular
dystrophy, multiple sclerosis, cancer, heart disease, diabetes, intellectual disability, and
emotional illness.
               B. “Major life activities” means functions that include caring for one’s self,
                   performing manual tasks, walking, seeing, hearing, speaking, breathing,
                   learning, and working.
(c)    In determining whether to impose a civil penalty pursuant to subdivision (a) and the
amount thereof, the court shall consider, in addition to any other appropriate factors, the extent to
which one or more of the following factors are present:
            1. Whether the defendant knew or should have known that his or her conduct was
               directed to one or more senior citizens or disabled persons.
            2. Whether the defendant’s conduct caused one or more senior citizens or disabled
               persons to suffer any of the following: loss or encumbrance of a primary
               residence, principal employment, or source of income; substantial loss of
               property set aside for retirement, or for personal or family care and maintenance;
               or substantial loss of payments received under a pension or retirement plan or a
               government benefits program, or assets essential to the health or welfare of the
               senior citizen or disabled person.
            3. Whether one or more senior citizens or disabled persons are substantially more
               vulnerable than other members of the public to the defendant’s conduct because



                                               A-15
          Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 51 of 54




                of age, poor health or infirmity, impaired understanding, restricted mobility, or
                disability, and actually suffered substantial physical, emotional, or economic
                damage resulting from the defendant’s conduct.
(d)      A court of competent jurisdiction hearing an action pursuant to this section may make
orders and judgments as necessary to restore to a senior citizen or disabled person money or
property, real or personal that may have been acquired by means of a violation of this chapter.
Restitution ordered pursuant to this subdivision shall be given priority over recovery of a civil
penalty designated by the court as imposed pursuant to subdivision (a), but shall not be given
priority over a civil penalty imposed pursuant to subdivision (a) of Section 17206. If the court
determines that full restitution cannot be made to those senior citizens or disabled persons, either
at the time of judgment or by a future date determined by the court, then restitution under this
subdivision shall be made on a pro rata basis depending on the amount of loss.
§ 17206.2

   (a)
            1. In addition to any liability for a civil penalty pursuant to Section 17206, a person
               who violates this chapter, if the act or acts of unfair competition are perpetrated
               against one or more service members or veterans, may be liable for a civil penalty
               not to exceed two thousand five hundred dollars ($2,500) for each violation,
               which may be assessed and recovered in a civil action as prescribed in Section
               17206.
            2. Any civil penalty shall be paid as prescribed by subdivisions (b) and (c) of
               Section 17206.

   (b) As used in this section, the following terms have the following meanings:
          1. “Service member” means a person who is a member of the Army, Navy, Air
              Force, Marine Corps, Space Force, or Coast Guard, or the active militia of this
              state.
          2. “Veteran” means a person who was formerly a service member.

§ 17207

(a)     Any person who intentionally violates any injunction prohibiting unfair competition
issued pursuant to Section 17203 shall be liable for a civil penalty not to exceed six thousand
dollars ($6,000) for each violation. Where the conduct constituting a violation is of a continuing
nature, each day of that conduct is a separate and distinct violation. In determining the amount of
the civil penalty, the court shall consider all relevant circumstances, including, but not limited to,
the extent of the harm caused by the conduct constituting a violation, the nature and persistence
of that conduct, the length of time over which the conduct occurred, the assets, liabilities, and net
worth of the person, whether corporate or individual, and any corrective action taken by the
defendant.

(b)     The civil penalty prescribed by this section shall be assessed and recovered in a civil
action brought in any county in which the violation occurs or where the injunction was issued in




                                                A-16
          Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 52 of 54




the name of the people of the State of California by the Attorney General or by any district
attorney, any county counsel of any county within which a city has a population in excess of
750,000 or any county counsel that is authorized by agreement with the district attorney in
actions involving violation of a county ordinance, or any city attorney in any court of competent
jurisdiction within the attorney’s jurisdiction without regard to the county from which the
original injunction was issued. An action brought pursuant to this section to recover civil
penalties shall take precedence over all civil matters on the calendar of the court except those
matters to which equal precedence on the calendar is granted by law.

(c)     If such an action is brought by the Attorney General, one-half of the penalty collected
pursuant to this section shall be paid to the treasurer of the county in which the judgment was
entered, and one-half to the State Treasurer. If brought by a district attorney or county counsel
the entire amount of the penalty collected shall be paid to the treasurer of the county in which the
judgment is entered. If brought by a city attorney or city prosecutor, one-half of the penalty shall
be paid to the treasurer of the county in which the judgment was entered and one-half to the city,
except that if the action was brought by a city attorney of a city and county the entire amount of
the penalty collected shall be paid to the treasurer of the city and county in which the judgment is
entered.

(d)     If the action is brought at the request of a board within the Department of Consumer
Affairs or a local consumer affairs agency, the court shall determine the reasonable expenses
incurred by the board or local agency in the investigation and prosecution of the action.

Before any penalty collected is paid out pursuant to subdivision (c), the amount of the reasonable
expenses incurred by the board shall be paid to the State Treasurer for deposit in the special fund
of the board described in Section 205. If the board has no such special fund, the moneys shall be
paid to the State Treasurer. The amount of the reasonable expenses incurred by a local consumer
affairs agency shall be paid to the general fund of the municipality or county which funds the
local agency.

§ 17208

Any action to enforce any cause of action pursuant to this chapter shall be commenced within
four years after the cause of action accrued. No cause of action barred under existing law on the
effective date of this section shall be revived by its enactment.

§ 17209

If a violation of this chapter is alleged or the application or construction of this chapter is in issue
in any proceeding in the Supreme Court of California, a state court of appeal, or the appellate
division of a superior court, each person filing any brief or petition with the court in that
proceeding shall serve, within three days of filing with the court, a copy of that brief or petition
on the Attorney General, directed to the attention of the Consumer Law Section at a service
address designated on the Attorney General’s official Web site for service of papers under this
section or, if no service address is designated, at the Attorney General’s office in San Francisco,
California, and on the district attorney of the county in which the lower court action or




                                                A-17
          Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 53 of 54




proceeding was originally filed. Upon the Attorney General’s or district attorney’s request, each
person who has filed any other document, including all or a portion of the appellate record, with
the court in addition to a brief or petition shall provide a copy of that document without charge to
the Attorney General or the district attorney within five days of the request. The time for service
may be extended by the Chief Justice or presiding justice or judge for good cause shown. No
judgment or relief, temporary or permanent, shall be granted or opinion issued until proof of
service of the brief or petition on the Attorney General and district attorney is filed with the
court.

§ 17210

(a)      For purposes of this section, “hotel” means any hotel, motel, bed and breakfast inn, or
other similar transient lodging establishment, but it does not include any residential hotel as
defined in Section 50519 of the Health and Safety Code. “Innkeeper” means the owner or
operator of a hotel, or the duly authorized agent or employee of the owner or operator.
(b)      For purposes of this section, “handbill” means, and is specifically limited to, any tangible
commercial solicitation to guests of the hotel urging that they patronize any commercial
enterprise.
(c)      Every person (hereinafter “distributor”) engages in unfair competition for purposes of
this chapter who deposits, places, throws, scatters, casts, or otherwise distributes any handbill to
any individual guest rooms in any hotel, including, but not limited to, placing, throwing, leaving,
or attaching any handbill adjacent to, upon, or underneath any guest room door, doorknob, or
guest room entryway, where either the innkeeper has expressed objection to handbill distribution,
either orally to the distributor or by the posting of a sign or other notice in a conspicuous place
within the lobby area and at all points of access from the exterior of the premises to guest room
areas indicating that handbill distribution is prohibited, or the distributor has received written
notice pursuant to subdivision (e) that the innkeeper has expressed objection to the distribution of
handbills to guest rooms in the hotel.
(d)      Every person (hereinafter “contractor”) engages in unfair competition for purposes of this
chapter who causes or directs any other person, firm, business, or entity to distribute, or cause the
distribution of, any handbill to any individual guest rooms in any hotel in violation of
subdivision (c) of this section, if the contractor has received written notice from the innkeeper
objecting to the distribution of handbills to individual guest rooms in the hotel.
(e)      Every contractor who causes or directs any distributor to distribute, or cause the
distribution of, any handbills to any individual guest rooms in any hotel, if the contractor has
received written notice from the innkeeper or from any other contractor or intermediary pursuant
to this subdivision, objecting to the distribution of handbills to individual guest rooms in the
hotel has failed to provide a written copy of that notice to each distributor prior to the
commencement of distribution of handbills by the distributor or by any person hired or retained
by the distributor for that purpose, or, within 24 hours following the receipt of the notice by the
contractor if received after the commencement of distribution, and has failed to instruct and
demand any distributor to not distribute, or to cease the distribution of, the handbills to
individual guest rooms in any hotel for which such a notice has been received is in violation of
this section.




                                               A-18
        Case: 22-55930, 09/13/2023, ID: 12792035, DktEntry: 19, Page 54 of 54




(f)     Any written notice given, or caused to be given, by the innkeeper pursuant to or required
by any provision of this section shall be deemed to be in full force and effect until such time as
the notice is revoked in writing.
(g)     Nothing in this section shall be deemed to prohibit the distribution of a handbill to guest
rooms in any hotel where the distribution has been requested or approved in writing by the
innkeeper, or to any individual guest room when the occupant thereof has affirmatively requested
or approved the distribution of the handbill during the duration of the guest’s occupancy.




                                              A-19
